
Bernard S. Meter, J.
Petition of the commission for an order of enforcement granted. There is substantial evidence in the record to support the findings and conclusions reached by the Hearing Commissioners. The claim that respondent sold his business and removed from the State after the hearing and before issuance of the Commissioner’s order is irrelevant. The order speaks as of the time of the hearing and if supported by the record may be enforced. This court has jurisdiction even if respondent no longer resides or transacts business in Nassau County, since Nassau is the county in which the unlawful discriminatory practice occurred. The order, which applies to respondent at his shop in Uniondale 11 or any other barber shop operated by respondent within the State of New York ”, should be enforced without modification.
